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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 NEUROSURGICAL CARE, LLC                           :
                                                   :             CIVIL ACTION
                v.                                 :
                                                   :             NO. 19-5751
 DOC SOLUTIONS LLC et al.                          :

                                                ORDER

       AND NOW, this 2nd day of July, 2021, upon consideration of Defendant Biegler

GmbH’s Motion to Strike Plaintiff’s Notice of Supplemental Authority (“Plaintiff’s Notice,”

ECF No. 86), or in the alternative, Motion for Leave to File a Response in Opposition to

Plaintiff’s Notice (ECF No. 87), it is ORDERED as follows:

       1.       Biegler GmbH’s Motion to Strike Plaintiff’s Notice is DENIED.

       2.       Biegler GmbH is granted leave to file a response to Plaintiff’s Notice within

fourteen (14) days of the date of this Order.

       IT IS SO ORDERED.

                                                       BY THE COURT:


                                                        /s/ John Milton Younge
                                                       JUDGE JOHN MILTON YOUNGE
